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                      UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS


Hichem Chihi, et al.

v.                                            Case Number: 4:18−cv−00123

Catholic Health Initiatives, et al.




                                 NOTICE OF SETTING

TAKE NOTICE THAT A PROCEEDING IN THIS CASE HAS BEEN SET FOR
THE PLACE, DATE AND TIME SET FORTH BELOW.


Before the Honorable
Sam S Sheldon
PLACE:        by video
              United States District Court
              515 Rusk Avenue
              Houston, Texas 77002
DATE: 8/5/2020

TIME: 04:30 PM
TYPE OF PROCEEDING: Status Conference


Date: July 30, 2020
                                                        David J. Bradley, Clerk
